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                 4                                  UNITED STATES DISTRICT COURT
                 5                                          DISTRICT OF NEVADA
                 6                                                     ***
                 7       UNITED STATES OF AMERICA,                             Case No. 2:13-CR-18 JCM (GWF)
                 8                                             Plaintiff(s),                     ORDER
                 9              v.
               10        LEON BENZER, et al.,
               11                                            Defendant(s).
               12
               13              Presently before the court is defendant Keith Gregory’s (“Gregory”) motion to continue
               14       evidentiary hearing and sentencing date. (Doc. # 623). Also before the court is defendant Edith
               15       Gillespie’s (“Gillespie”) motion for joinder to Gregory’s motion. (Doc. # 624).
               16              In his motion, Gregory asks the court to continue the hearing on loss set for June 15, 2015,
               17       and Gregory’s June 17, 2015, sentencing date “in light of the Government’s new and exceptional
               18       position on loss and the evidence the Government intends to rely on at the hearing.” (Doc. # 623).
               19              Gregory claims that the government seeks to introduce new exhibits at the loss hearing and
               20       that his counsel has inadequate time to review these documents before the hearings and response
               21       deadline set by the court, but makes no showing to support his position. The government’s
               22       proposed exhibits, while extensive, are merely a compilation and need no detailed analysis.
               23       Gregory asks for a continuance of at least thirty days. (Doc. # 623).
               24              The court finds that the parties have adequate time to brief the issues before the hearings,
               25       and will not grant any further continuances in this case.
               26       ...
               27       ...
               28       ...

James C. Mahan
U.S. District Judge
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                1            Accordingly,
                2            IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that defendant Keith
                3     Gregory’s motion to continue evidentiary hearing and sentencing date, (doc. # 623), be, and the
                4     same hereby is, DENIED.
                5            IT IS FURTHER ORDERED that defendant Edith Gillespie’s motion for joinder to
                6     Gregory’s motion, (doc. # 624), be, and the same hereby is, DENIED as moot.
                7            DATED June 3, 2015.
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                9                                         ___________________________________________
                                                          UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                -2-
